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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 UNITED STATES of AMERICA,

                      Plaintiff,
 v.                                                    Case No. 11‐40057‐04‐RDR

 MARCOS FIDEL MOJICA‐CRUZ,

                      Defendant.



          ORDER EXTENDING TIME FOR FILING PRETRIAL MOTIONS

       The court hereby grants defendant’s motion for extension of time to file pretrial

motions. Pretrial motions are due on November 17, 2011. A hearing on the motions is set

for December 9, 2011 at 9:30 a.m. For the reasons set out in the motion, the Court finds the

continuance will not prejudice the parties, is necessary for the effective defense of Mr.

Mojica‐Cruz, and that the need for a continuance outweighs the interest of the public and

the defendant in a speedy trial, as set out in 18 U.S.C. 3161(h)(7).

       IT IS SO ORDERED this 19th day of October, 2011.



                                                  s/Richard D. Rogers
                                                  United States District Judge
